
In re Neeb Kearney &amp; Company Inc.;— Defendant; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Civil District Court Div. N, No. 06-11711; to the Court of Appeal, Fourth Circuit, No. 2007-C-0391.
Denied. Although the court of appeal’s judgment was premised on an incorrect factual finding, it reached the correct result in reversing the trial court’s grant of partial summary judgment. There are questions of fact concerning when plaintiffs significant exposure to asbestos occurred. See Austin v. Abney Mills, 01-1598 (La.9/4/02), 824 So.2d 1137.
WEIMER, J., would deny without language.
